447 F.2d 495
    Gary GLOVER, a Minor, Suing by and through his Father,Alfred F. Glover, Plaintiff-Appellant,v.J. C. PETTEY, Individually and as Superintendent of MorganCounty Schools, et al., Defendants-Appellees.
    No. 31112.
    United States Court of Appeals, Fifth Circuit.
    May 27, 1971, Rehearing and Rehearing En Banc Denied Aug. 25, 1971.
    
      J. Knox Argo, Tuscaloosa, Ala., Ralph Knowles, Jack Drake, Drake &amp; Knowles, University, Ala., for plaintiff-appellant; C. H. Erskine Smith, Birmingham, Ala., of counsel.
      John A. Caddell, Decatur, Ala., for defendants-appellees.
      Appeal from the United States District Court for the Northern District of Alabama; Harlan Hobart Grooms, District Judge.
      Before GEWIN, BELL and MORGAN, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      1
      ON PETITION FOR REHEARING PETITION FOR REHEARING EN BANC
    
    PER CURIAM:
    
      2
      The Petition for Rehearing is denied and the Court having been polled at the request of one of the members of the Court and a majority of the Circuit Judges who are in regular active service not having voted in favor of it, (Rule 35, Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 12) the Petition for Rehearing En Banc is also denied.
    
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 430 F.2d 966 (5th Cir. 1970)
      
    
    